                    UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF OHIO
                     WESTERN DIVISION AT DAYTON


   UNITED STATES OF AMERICA,      : Case No.: 3:18CR119TMR
                                  :
           Plaintiff,             : SENTENCING MEMORANDUM
                                  :
               vs.                :
                                  :
        ROSHAWN WINBURN,          :
                                  :
           Defendant.             :



     Plaintiff United States of America, by and through its

counsel of record, the United States Attorney’s Office for the

Southern District of Ohio, hereby files the attached sentencing

memorandum.   This brief is based upon the attached memorandum of

points and authorities, the files and records in this case, and

any further evidence or argument as may be presented at this

defendant=s sentencing hearing.

DATED: July 24, 2020           Respectfully submitted,


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                               UNITED STATES ATTORNEY

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                        SENTENCING MEMORANDUM

                                 I.

                            INTRODUCTION


     Defendant Roshawn Winburn abused his position as a public

employee.    Through his job with the City of Dayton, he had

access to internal, restricted information concerning

forthcoming government contracts.      In exchange for a cash bribe,

Mr. Winburn disclosed portions of this confidential information

to a purported bidder and, in doing so, knowingly provided that

business with a competitive advantage in the contracting

process.    Although Mr. Winburn – like most defendants who engage

in this type of conduct – lacks any criminal history, the

seriousness of his offense, the need to ensure respect for the

law, and the requirement to promote general deterrence warrants

imposition of a meaningful period of incarceration upon this

defendant.

                                 II.

                              ARGUMENT


     Like the advisory Sentencing Guidelines, 1 the section

3553(a) factors support a term of imprisonment upon this

defendant.    His crime was serious.   Bribes – whether merely



1 The Guidelines prescribe an advisory sentencing range of 12 to
18 months of imprisonment.
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solicited or actually accepted – are “fatally destructive to

good government” in multiple ways.    United States v. Kim, 738 F.

Supp. 1002, 1004 (E.D. Va. 1990).    Through this illegal

activity, a public employee denies the people for whom he truly

works – namely, the citizens of the city, community or state

where he serves – of their intrinsic right to have their

government contract with the best companies for a particular

project, not those who can merely buy access.    When public

employees attempt to skew the bidding process for personal gain,

it deprives legitimate, hardworking business owners of a level

playing field in their efforts to obtain lucrative contracts.

This type of conduct also harms the government entity for whom

the individual works, eroding public trust in other public

servants and casting doubt on its efforts to faithfully

discharge its obligations to its citizens.    To this end,

“[b]ribery . . . in most cities of the United States is

considered a serious crime.”   United States v. Balzano, 916 F.2d

1273, 1298 (7th Cir. 1990).

     Nor was Mr. Winburn’s conduct isolated to a single cash

payment.   He lied to the Federal Bureau of Investigation.     When

agents asked whether he performed certain checks required to

verify as a disadvantaged business an application that he

processed, he falsely claimed that he had.    (See PSR ¶ 24).

Notably, this applicant was connected to the business from whom

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Mr. Winburn accepted improper cash benefits that he now attempts

to largely characterize as legitimate consulting fees.   These

activities (and, in the view of the United States, minimization

of his actions) compound the seriousness of Mr. Winburn’s

conduct.

     In this vein, Mr. Winburn’s statements to the Probation

Office provide the United States pause.   Prior to the events of

this case, Mr. Winburn admittedly had no criminal history.     He

had extensive experience in the financial world and engaged in

legitimate, honest work.   These facts suggest that he poses

minimal danger of reoffending and represents little need for

specific deterrence.   Yet, he largely equates his repeated

requests for “envelopes” – his code word for a cash bribe, not

that of the company from whom he accepted them – to mere

haphazard business practices.   While superficially acknowledging

that it was improper to accept cash in return for disclosure of

confidential information, Mr. Winburn leaves the distinct

impression that the business from whom he accepted the bribe,

not he, lies at the true heart of his crime.   His seeming

equivocation should provide considerable reservation as to

whether he will tread this same path again.

     Even giving Mr. Winburn every benefit of the doubt that he

will not reoffend, the need for general deterrence warrants some

disposition other than a probationary sentence.   See, e.g.,

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United States v. Morgan, 635 Fed. Appx. 423, 450 (10th Cir.

2015) (“non-custodial sentence” would fail to generally “deter

public officials from soliciting bribes”).   As Mr. Winburn

notes, he has (and will continue to) experience collateral

consequences of his actions; but as the Sixth Circuit repeatedly

has counseled, such considerations, including “a defendant's

humiliation before his community, neighbors, and friends”,

rarely, if ever, prove a significant mitigating factor against

imposition of a custodial sentence.   See, e.g., United States v.

Peppel, 707 F.3d 627, 637 (6th Cir. 2013) (rejecting defendant’s

argument that de minimis custodial sentence required due to

“negative publicity [that he suffered] as a result of the

proceedings”).   If the consequences of a custodial sentence are

eliminated for an official who engaged in corruption, “the

deterrent effect is proportionately minimized.”   Morgan, 635

Fed. Appx. at 450.   “Sentencing corrupt office holders to a

colloquial slap on the wrist” will “over time exacerbate an

endemic cycle of corruption.”   Sorenson, 233 F. Supp. 3d at 699.

In short, without meaningful consequences when an official

breaches the trust placed in him, “the public’s trust is no more

than blind trust.”   Morgan, 635 Fed. Appx. at 450.




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                              III.

                           CONCLUSION

     While Mr. Winburn is not an arch-criminal, the serious

nature of his conduct and the need for general deterrents

warrant a meaningful period of incarceration for his conduct.




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                     CERTIFICATE OF SERVICE


     I hereby certify that a copy of the foregoing was served on
defendant's counsel this 24th day of July 2020 via the Court’s
ECF System.

                         s/Brent G. Tabacchi
                         BRENT G. TABACCHI
                         Assistant United States Attorney




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